Case 2:18-cv-00091-MHT-SMD Document 52-17 Filed 02/08/19 Page 1 of 3




                 Exhibit 17
          Case 2:18-cv-00091-MHT-SMD Document 52-17 Filed 02/08/19 Page 2 of 3




\ afm \ Adjudicator's Field Manual \ Chapter 10 An Overview of the Adjudication Process. \ 10.22 Change
of Gender Designation on Documents Issued by USCIS
Previous Document | Next Document


10.22 Change of Gender Designation on Documents Issued by USCIS (Added 4/10/2012; PM-602-0061;
AD12-02; PM-602-0141)
USCIS issues a variety of documents that show identity and immigration status in the United States.
These include, but are not limited to, Employment Authorization Documents, Refugee Travel Documents,
Permanent Resident Cards, and Certificates of Citizenship or Naturalization. Individuals may request a
change in the gender reflected on a USCIS-issued document using the standard USCIS form for requesting
the desired document. USCIS will issue an initial or amended document reflecting the changed gender
designation if the individual presents one of the following forms of evidence in support of the change in
gender designation along with meeting all other requirements for the requested document:
     A court order granting change of sex or gender;
     A government-issued document reflecting the requested gender designation. Acceptable
     government-issued documents include an amended birth certificate, a passport, a driver’s license, or
     other oﬀicial document showing identity issued by the U.S. Government, a state or local government
     in the United States, or a foreign government; or
     A letter from a licensed health care professional certifying that the requested gender designation is
     consistent with the individual’s gender identity. For the purposes of this subchapter, a licensed
     health care professional includes licensed counselors, nurse practitioners, physicians (Medical
     Doctors or Doctors of Osteopathy), physician assistants, psychologists, social workers, and
     therapists. The health care certification letter must include the following information:
          The health care professional's full name, address, and telephone number;
          The health care professional’s license number and the issuing state, country, or other jurisdiction
          of the professional license;
          Language stating that the health care professional has treated or evaluated the individual in
          relation to the individual’s gender identity1; and
          The health care professional’s assessment of the individual’s gender identity.
Sample health care certification language can be found in Appendix 10-22, Change of Gender Designation
on Documents Issued by USCIS.
USCIS may request additional evidence of the individual’s gender identity, as necessary to verify the
requested change in gender designation. As in all adjudications, if an oﬀicer finds significant substantive
discrepancies, has reason to question the accuracy or authenticity of documents submitted, or finds
other indicators of fraud, the case may be referred to the USCIS Fraud Detection and National Security
Directorate (FDNS) in accordance with current national and local policies.
If the individual is also requesting that a name change be reflected on the document to be issued by
USCIS, evidence that the name change was completed according to the relevant state or foreign law must
also be submitted.
          Case 2:18-cv-00091-MHT-SMD Document 52-17 Filed 02/08/19 Page 3 of 3
USCIS-issued documents that display a gender or sex identifier are limited to indicating only female or
male. Consequently, requests for USCIS-issued documents reflecting a change of gender designation
must indicate either female or male as the new gender.
NOTES
1 Proof of sex reassignment surgery or any other specific medical treatment is not required to issue the
requested document in the changed gender.



\ afm \ Adjudicator's Field Manual \ Chapter 10 An Overview of the Adjudications Process. \ 10.22 Change
of Gender Designation on Documents Issued by USCIS
Previous Document | Next Document
